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UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTIUCUT

HAROLD STERLING, ET AL. : NO. 3:18CV01310 (VAB)
V.
SECURUS TECHNOLOGIES, INC., ET AL. : JUNE 20, 2019

NOTICE OF CHANGE OF ADDRESS

To the Clerk of this Court and all appearing parties of record, please note the NEW address of

Plaintiff David V. Myles:

e David V. Myles
P.O. Box 699
Waterbury, CT 06702

Tel. 203-848-8069

Respectfully submitted,

TV. Wes

David V. Myles
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